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                        Exhibit 1
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                                                     Itemized Expenses

The Bruning Law Firm, LLC

Date                                                     Memo/Description       Amount

02/19/2016    Service on St. Louis Rams                                              $60.12
05/09/2016    Obtain File Documents                                                  $39.80
04/21/2017    Mediation                                                              $12.00
04/21/2017    Mediation                                                              $12.00
04/21/2017    Case Meeting post Mediation                                          $169.20
04/21/2017    Mediation Lunch                                                        $17.25
04/23/2017    Pre-Mediation Meeting                                                  $12.00
04/24/2017    Courier Service                                                        $50.00
05/16/2017    Wayback Machine                                                      $590.00
05/23/2017    Edward Mock Deposition                                               $236.20
06/08/2017    McAllister Deposition                                                $228.41
06/08/2017    S. Bohm Deposition                                                   $151.85
06/08/2017    Jaenke Deposition                                                    $166.40
06/08/2017    Pearlman Deposition                                                  $182.30
06/08/2017    R. Bohm Deposition                                                   $197.15
06/08/2017    Cochran Deposition                                                   $152.75
06/16/2017    LA Flight Early Bird-Demoff Deposition                                 $15.00
06/16/2017    Mediation Cost                                                       $352.49
06/30/2017    LA Flight- Demoff Deposition                                         $597.96
07/08/2017    LA Flight Early Bird                                                   $15.00
07/08/2017    LA Flight Early Bird                                                   $15.00
07/11/2017    Copying Charge LA Hotel                                                $11.50
07/11/2017    Copying Charge LA Hotel                                                $63.25
07/11/2017    In Flight Wifi                                                          $8.00
07/11/2017    LA Trip                                                                 $9.00
07/12/2017    LA Trip                                                                 $8.92
07/12/2017    Copying/Printing Charge LA                                             $34.50
07/12/2017    Copying/Printing Charge LA                                             $32.31
07/12/2017    Copying/Printing Charge LA                                             $23.67
07/13/2017    Airport Parking                                                        $46.00
07/13/2017    LA Flight-Strombom Deposition                                          $10.00
07/14/2017    LA Flight-Strombom Deposition                                          $15.00
07/14/2017    LA Flight-Strombom Deposition                                          $15.00
07/14/2017    LA Flight-Strombom Deposition                                        $190.00
07/14/2017    LA Flight-Strombom Deposition                                        $321.00
07/19/2017    LA Flight-Strombom Deposition                                           $8.00
07/19/2017    LA Meal                                                                $17.76
07/19/2017    LA Meal                                                                $18.30
07/19/2017    LA Meal                                                                $40.69
07/19/2017    LA Meal                                                                $18.30
07/19/2017    LA Meal                                                                $16.96
07/19/2017    LA Meal                                                                 $2.91
07/19/2017    LA Meal                                                              $151.15
07/20/2017    LA Meal                                                                $17.30
07/21/2017    LA Flight- Wifi                                                         $8.00
07/21/2017    Hotal Charge LA Trip-Strombom Deposition                             $819.88
07/21/2017    LA Taxi                                                                $61.74
07/21/2017    LA Meal                                                              $199.06
07/22/2017    Parking                                                                $60.00
09/08/2017    Strombom Deposition and Krieger Bill                                $3,259.23
10/19/2017    Kriegler Expert Fee                                                 $2,000.00
11/13/2017    Kriegler Deposition                                                  $348.90
12/15/2017    Kreigler Depo Prep                                                  $1,709.71
01/12/2018    Demoff Depo Trip                                                       $15.00
01/12/2018    Demoff Depo Trip                                                       $15.00
01/12/2018    LA Demoff Depo Trip                                                  $358.96
01/19/2018    Strombom Deposition                                                 $1,116.80
01/22/2018    LA-Demoff Depo                                                         $24.12
01/23/2018    LA-Demoff Depo                                                         $24.92
01/23/2018    LA-Demoff Depo                                                         $21.78
01/23/2018    LA-Demoff Depo                                                          $7.16
01/23/2018    LA-Demoff Depo                                                          $8.00
01/24/2018    LA- Demoff Depo                                                      $177.32
01/24/2018    LA-Demoff Depo                                                         $24.21
01/24/2018    LA-Demoff Depo                                                         $22.25




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01/25/2018   LA-Demoff Depo- Airport Meal                                  $40.75
01/26/2018   LA-Demoff Depo                                              $568.86
02/26/2018   Strombom Depo                                               $684.00
04/13/2018   LA Flight                                                     $15.00
04/13/2018   LA Flight                                                     $15.00
04/13/2018   LA Flight                                                   $379.96
04/16/2018   LA Hotel, Moore Depo                                        $756.35
06/04/2018   LA Scanning Services                                        $300.00
06/22/2018   Mediation Lunch                                             $118.83
06/22/2018   Post Mediation Meeting                                      $193.67
06/28/2018   Concord Scanning Services                                  $4,298.47
07/09/2018   Reimbursement for Concord Scanning                        -$1,432.82
07/21/2018   Mediation Lunch                                             $112.97
08/01/2018   Scanning Hard Files                                        $2,028.56
08/01/2018   Kriegler Bill 6/1/18-6/30/18                                $550.00
10/30/2018   Econ One- Brian Kriegler                                   $1,720.66
12/21/2018   Mediation Costs                                             $715.47

                                                                   $   25,700.17




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Law Office of Richard S. Cornfeld, LLC

Date                                     Memo/Description            Amount

02/09/2016     Court Filing Fee                                         $400.00
02/16/2016     Process Server                                             $54.32
08/30/2016     Parking                                                     $1.50
04/03/2017     Meal                                                       $36.17
04/03/2017     Meal                                                       $36.17
04/13/2017     Miscellaneous                                               $9.00
04/21/2017     Parking                                                    $12.00
04/21/2017     Meal                                                       $10.18
06/16/2017     Mediation                                                $352.49
07/19/2017     Travel/Lodging                                           $677.95
07/19/2017     Meal                                                       $23.67
07/19/2017     Taxi                                                       $67.98
07/19/2017     Wifi                                                        $8.00
07/19/2017     Travel/Lodging                                           $668.71
07/19/2017     Meal                                                       $14.54
07/20/2017     Meal                                                       $31.81
07/21/2017     Travel/Lodging                                           $290.00
07/21/2017     Meal                                                       $32.31
07/21/2017     Wifi                                                       $63.90
07/21/2017     Meal                                                       $28.63
07/21/2017     Travel/Lodging                                             $31.01
07/23/2017     Parking                                                  $112.00
07/31/2017     Expert Witness                                          $2,029.34
08/08/2017     Court Reporter                                          $2,029.35
08/14/2017     Court Reporter                                           $215.98
08/16/2017     Office Supplies                                            $21.73
08/31/2017     Expert Witness                                          $2,000.00
09/06/2017     Court Reporter                                             $78.34
01/22/2018     Expert Witness                                          $1,116.80
01/26/2018     Expert Witness                                          $1,737.00
05/31/2018     Expert Witness                                          $1,720.68
06/28/2018     Document Scanning                                       $1,432.82
06/30/2018     Expert Witness                                          $1,110.00

                                                                      $16,454.38




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Goldenberg Heller & Antognoli, P.C.

Date                                                      Memo/Description                                       Amount

2/3/2016       Conference Call Charges                                                                               $24.99
4/18/2016      Conference Call Charges                                                                               $13.56
5/9/2017       Pohlman Court Reporting - Richard Arnold                                                             $226.05
5/23/2017      Transcript of R. Arnold Deposition 5/9/2017                                                          $226.05
6/26/2017      Mediation Services of the Honorable William Ray Price, Jr. with Armstrong Teasdale, LLP              $352.49
               Southwest Airlines - Flight to Los Angeles for the 07/11/2017 Deposition of Rams' Corporate
6/29/2017      Representative, Kevin Demoff                                                                        $612.96
7/9/2017       J. W. Marriott - T. Rosenfeld                                                                       $878.25
7/10/2017      J. W. Marriott - R. Bruning                                                                         $726.63
7/11/2017      Pohlman Court Reporting - Kevin Demoff                                                             $1,659.29
8/3/2017       FedEx (Subpoena to Beck 'N Call for Service to STL Marketplace, LLC                                   $45.50
8/3/2017       Witness Fee to STL Marketplace, LLC                                                                   $45.00
8/4/2017       Beck 'N Call - Process Service [Expedite Service]                                                     $95.00
8/9/2017       Pacer Service/Federal Court Research (filings in related litigation)                                  $15.00
9/6/2017       Econ One (Professional Services - July 2017)                                                       $2,029.33
9/6/2017       Pohlman Court Reporting - Strombom - Vol I                                                          $935.61
9/6/2017       Pohlman Court Reporting - Strombom - Vol II                                                         $215.96
9/6/2017       Pohlman Court Reporting - Strombom - Vol III                                                          $78.33
10/17/2017     Econ One (Professional Services - August 2017)                                                     $2,000.00
12/29/2017     Econ One (Professional Services - September 2017)                                                  $1,709.70
1/11/2018      Strombom Deposition Payment                                                                        $1,116.80
1/23/2018      Airfare to LA for Deposition of Rams' Corporate Representative                                      $521.98
1/23/2018      LA Trip - Meal                                                                                         $7.50
1/24/2018      Taxi                                                                                                  $68.70
1/24/2018      LA Trip - Meal                                                                                        $23.00
1/24/2018      LA Trip - Meal                                                                                        $50.70
1/24/2018      LA Trip - Meal                                                                                      $365.98
1/25/2018      LA Trip - Meal                                                                                      $241.48
1/25/2018      Lodging (TPR and RB)                                                                               $1,131.51
1/25/2018      Airfare from LA for Deposition of Rams' Corporate Representative                                    $467.00
1/26/2018      Taxi                                                                                                  $33.50
2/5/2018       Jump Drives for video deposition                                                                      $30.24
2/19/2018      Veritext Legal Solutions - Demoff Depo                                                              $781.00
5/31/2018      Pacer Service/Federal Court Research                                                                  $55.60
6/5/2018       Veritext Legal Solutions - Demoff depo transcript McAllister                                        $871.84
6/5/2018       Veritext Legal Solutions - Demoff depo transcript Arnold                                            $966.52
6/28/2018      Concord Document Services                                                                          $1,432.82
8/15/2018      Parking Expense-St. Louis Meetings                                                                       3.35
8/15/2018      Parking Expense-St. Louis Meetings                                                                     $3.35
8/17/2018      Parking Expense-Clayton Meeting                                                                        $3.00
10/11/2018     Conference Call Charges 9/7/18                                                                         $6.28
10/11/2018     Conference Call Charges 9/26/18                                                                       $10.09
10/29/2018     Expert Fees-Defendant's Expert 5/31/18                                                             $1,720.66
11/12/2018     Conference Call Charges 10/4/18                                                                        $6.79
12/20/2018     Parking Expense for 12/3/18 Meeting                                                                   $10.05
12/20/218      Parking Expense for 12/3/18 Meeting                                                                    $3.00
1/22/2019      Parking Expense for 12/11/18                                                                           $3.35
2/6/2019       Mediation Services - J. Price with Armstrong Teasdale                                               $715.47

                                                                                                                 $22,541.26

               Total                                                                                         $   64,695.81




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